     Case 2:09-cr-00088-FVS    ECF No. 438   filed 06/30/10   PageID.4374 Page 1 of 6




 1                            UNITED STATES DISTRICT COURT
 2                            EASTERN DISTRICT OF WASHINGTON
 3

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 5
     UNITED STATES OF AMERICA,
                                                        No. CR-09-88-FVS
 6
                         Plaintiff,

 7
                                                        ORDER RE WILLIAM LEWINSKI
                  v.
 8

 9
     KARL F. THOMPSON, JR.,

10
                         Defendant.

11

12        THIS MATTER came before the Court on June 3, 2010, for a pretrial

13   conference.       One of the motions the Court considered was the

14   government’s motion in limine to exclude the expected testimony of

15   defense expert William Lewinski.         This order serves to memorialize the

16   Court's oral ruling.

17        BACKGROUND

18        William Lewinski is a professor in the law enforcement program at

19   Minnesota State University at Mankato.            The defendant intends to

20   elicit a number of opinions from him.           At a minimum, they include

21   whether a videotape is able to capture a law enforcement officer’s

22   perspective of the risk presented by a suspect; the manner in which an

23   officer’s training and experience shapes his perception of events; and

24   the manner in which trauma influences an officer’s ability to remember

25   events.   The government moves to exclude Professor Lewinski’s expected

26   testimony.


     ORDER - 1
     Case 2:09-cr-00088-FVS   ECF No. 438   filed 06/30/10   PageID.4375 Page 2 of 6




 1        QUALIFICATIONS
 2        The government argues Professor Lewinski is unqualified to render
 3   the opinions the defendant intends to elicit from him.
 4        Analysis:
 5        Professor Lewinski earned a Ph.D. from the Union Institute and
 6   University in Cincinnati, Ohio.        As the government points out, this is
 7   not a prestigious institution.         However, the materials submitted by
 8   the parties indicate Professor Lewinski has been active
 9   professionally.    He has conducted research, written articles, and
10   participated in conferences.       Thus, while Professor Lewinski’s formal
11   academic credentials are not the strongest, he may have established
12   himself as an expert through research, writing, and speaking.
13        ADEQUACY OF DR. LEWINSKI'S REPORT
14        The government complains Professor Lewinski’s report does not
15   provide specific examples of how his testimony applies to the facts of
16   the case.   Nor, in the government's opinion, does his report cite
17   research as authority for his opinions.
18        Analysis:
19        The Court assumes the government is referring to Professor
20   Lewinski’s three-page report of April 15, 2010.              If so, the government
21   is correct about at least one thing.          The report is insufficiently
22   specific to enable the Court to determine whether Professor Lewinski's
23   testimony is admissible.
24        RESEARCH METHODS
25        The government cites what it characterizes as Professor
26   Lewinski’s “most-recently published study” and then proceeds to


     ORDER - 2
     Case 2:09-cr-00088-FVS   ECF No. 438   filed 06/30/10   PageID.4376 Page 3 of 6




 1   criticize the research methodology he employed.
 2        Analysis:
 3        Since the government did not provide a copy of the article, the
 4   Court cannot evaluate the merits of the government’s argument.
 5        USE OF PEER-REVIEWED RESEARCH
 6        The government cites a different article and complains that,
 7   while Professor Lewinski relied upon peer-reviewed studies, the
 8   studies he relied upon do not support his conclusions.
 9        Analysis:
10        Since the government did not provide a copy of Professor
11   Lewinski’s article or the studies he relied upon, the Court cannot
12   evaluate the merits of the government’s argument.
13        RULINGS BY OTHER COURTS
14        The government argues federal courts “routinely” limit or exclude
15   Dr. Lewinski’s testimony.      The government cites five cases.
16        Analysis:
17        One of the cases the government cites is White v. Gerardot, 2008
18   WL 4724004 (N.D.Ind. Oct. 24, 2008).          In White, the magistrate judge
19   said:
20             Dr. Lewinski, Defendant's expert in police psychology,
          opines that Gerardot faced a real, imminent threat;
21
          reasonably believed that he had to shoot immediately to
22        defend himself; was correct in believing that Ford was a
          lethal threat to him; and that Gerardot focused on what he
23
          believed to be important during the encounter. Plaintiff
24        seeks to exclude all of Dr. Lewinski's opinion, arguing that
          Dr. Lewinski's opinion attempts to bolster Gerardot's
25        credibility to the jury and improperly intrude upon the
26        province of the jury. . . .
               This Court will apply similar limitations to Dr.

     ORDER - 3
     Case 2:09-cr-00088-FVS   ECF No. 438   filed 06/30/10   PageID.4377 Page 4 of 6




 1        Lewinski that it applied to Kenneth Katsaris, Plaintiff's
          police procedure expert, for the same reasons articulated in
 2
          this Court's Opinion addressing Katsaris. . . . Therefore,
 3        the following testimony by Dr. Lewinski will be precluded:
          (1) any opinion that Gerardot actually identified Ford as a
 4
          threat; (2) any opinion that Gerardot reasonably believed he
 5        had to shoot immediately to defend himself; and (3) any
          opinion that Gerardot was correct, from an action/reaction
 6        perspective, in believing that Ford was a lethal threat to
 7        him. These are impermissible legal conclusions, attempt to
          bolster Gerardot's credibility, and improperly invade the
 8        province of the jury.
 9
               However, Dr. Lewinski may testify about what a
          reasonable police officer would consider to be an
10        “appearance of threat” and may testify about a reasonable
          officer's action and reaction time with a weapon under the
11
          circumstances presented.
12
     Id. at *2.   In view of the foregoing, the government is correct in
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     stating the magistrate judge limited Professor Lewinski’s testimony.
14
     However, the limitations the judge imposed were no greater than the
15
     limitations he imposed upon the plaintiff’s expert.
16
          ON-LINE NEWSPAPER ARTICLE
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          On April 28, 2010, an online newspaper named “City Pages”
18
     published an article that is critical of Professor Lewinski.
19
          Analysis:
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          The article is a combination of fact and opinion.               It is not
21
     always clear where the former ends and the latter begins.               In any
22
     event, it is impossible to assess the accuracy of the article.
23
          USEFULNESS OF TESTIMONY
24
          The government argues the jury does not need assistance from
25
     Professor Lewinski.      For one thing, he government submits the jury can
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     see, from watching the security videos, that they do not capture all

     ORDER - 4
     Case 2:09-cr-00088-FVS    ECF No. 438   filed 06/30/10   PageID.4378 Page 5 of 6




 1   of the information Officer Thompson would have perceived when he
 2   confronted Mr. Zehm.      For another thing, the government submits the
 3   jury can readily appreciate, without expert testimony, that Officer
 4   Thompson interpreted Mr. Zehm’s “body language” when assessing whether
 5   he posed a threat.       Finally, while the government acknowledges stress
 6   can affect one’s ability to recall an event, the government submits a
 7   jury does not need an expert to inform it of that fact.                For this last
 8   proposition, the government places great weight upon United States v.
 9   Libby, 461 F.Supp.2d 3 (D.D.C.2006).           In that case, the trial judge
10   excluded expert testimony the defendant planned to offer regarding
11   limitations upon memory.       The government urges the Court to do the
12   same here.
13        Analysis:
14        The point of expert testimony is to assist the jury.                If the
15   expert’s testimony will not assist the jury, it is pointless.                 Whether
16   the above-described testimony will assist the jury is a close call.
17   However, the types of questions the government poses with respect to
18   the utility of Professor Lewinski's testimony also may be posed with
19   respect to some of the testimony the government plans to offer.                    For
20   example, do jurors really need experts to tell them what the security
21   videos show?     And do jurors really need experts to tell them when a
22   suspect presents a threat to the safety of an officer?
23        CONCLUSION
24        As of June 3, 2010, the Court lacked sufficient information to
25   enable the Court to determine whether the expected testimony of
26   Professor Lewinski is admissible.


     ORDER - 5
     Case 2:09-cr-00088-FVS   ECF No. 438   filed 06/30/10   PageID.4379 Page 6 of 6




 1        IT IS HEREBY ORDERED:
 2        The Court reserves ruling with respect to the admissibility of
 3   Professor Lewinski's testimony.
 4        IT IS SO ORDERED.      The District Court Executive is hereby
 5   directed to enter this order and furnish copies to counsel.
 6        DATED this     30th      day of June, 2010.
 7
                               s/ Fred Van Sickle
 8                                Fred Van Sickle
                        Senior United States District Judge
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     ORDER - 6
